                                                                             DISTRICT OF OREGON
                                                                                  FILED
                                                                               December 17, 2020
                                                                          Clerk, U.S. Bankruptcy Court



  Below is an order of the court.




                                                            _______________________________________
                                                                       DAVID W. HERCHER
                                                                      U.S. Bankruptcy Judge
                         UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF OREGON

In re
                                               Case No. 20-32571-dwh11
U.S. Outdoor Holding LLC,
                                               Chapter 11
                  Debtor.
                                               ORDER DIRECTING DEBTOR TO
                                               APPEAR FOR RULE 2004
                                               EXAMINATION AND PRODUCE
                                               DOCUMENTS AND AUTHORIZING
                                               ISSUANCE OF SUBPOENAS


               This matter having come before the Court on the Ex Parte Motion of Robert D.

Solomon for Rule 2004 Examination of Debtor, Production of Documents and Issuance of

Subpoenas (the “Motion”), and the Court having considered the Motion and good cause existing

therefore, IT IS HEREBY

               ORDERED that the Motion is granted; IT IS FURTHER

               ORDERED that Edward Ariniello, in his capacity as representatives of

U.S. Outdoor Holding, LLC, the debtor in the above-captioned action (the “Debtor”), shall




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              and Authorizing Issuance of Subpoenas
                                                                                  4833-0937-0835.1



                    Case 20-32571-dwh11        Doc 106      Filed 12/17/20
personally appear by video conference for oral examination at 10:00 a.m. on January 22, 2021;

IT IS FURTHER

               ORDERED that the examination may be conducted via video conference before a

court reporter authorized to administer oaths in the State of Oregon. The reporter may report the

examination from a location separate from the witness and may administer the oath to the

witness remotely. Counsel for the parties may participate in the examination from various,

separate locations. Exhibits for the examination, if any, may be provided simultaneously and

electronically to the witness and all participants. The examination may be recorded

stenographically; IT IS FURTHER

               ORDERED that the Debtor shall produce to the undersigned counsel to

Mr. Solomon no later than 5:00 p.m. Pacific Time on January 15, 2021 the documents listed on

Exhibit 1 hereto; IT IS FURTHER

               ORDERED that the Debtor shall disclose to the undersigned counsel to

Mr. Solomon no later than three (3) days after the entry of this Order the name of the Debtor’s

insurer on the flood damage at 219 SW Broadway, Portland, Oregon 97205 (the “Insurer”); IT

IS FURTHER

               ORDERED that pursuant to Federal Rule of Bankruptcy Procedure 2004(c),

Mr. Solomon is authorized to issue a subpoena to the Insurer for all insurance records and

communications related to the flood damage at 219 SW Broadway, Portland, Oregon 97205.

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              and Authorizing Issuance of Subpoenas
                                                                                      4833-0937-0835.1



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I certify that I have complied with the requirements of LBR 9021-1(a).

Presented by:

MILLER NASH GRAHAM & DUNN LLP



/s/ Garrett S. Ledgerwood
Garrett S. Ledgerwood, OSB No 143701
Attorneys for Robert D. Solomon




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                                                   EXHIBIT 1

                                           Document Production

     1.      All documents and communications relating to any flood damage at 219 SW Broadway,
     Portland, Oregon 97205, including without limitation any claims submitted to insurers, repair
     quotes, invoices, copies of checks related to the repair of the flood damage and reimbursement
     for the loss, communications with insurers, claims adjusters, employees, shareholders, officers,
     contractors and repairmen, inspection reports, and photographs.

                                                    Definitions

                    For purposes of this document production, terms otherwise undefined above shall
     have the following meaning:
     A.      “Communications” means any transmission of information between or among two or
     more persons or entities, including but not limited to (a) any written letter, note, memorandum,
     correspondence, e-mail, electronic memorandum, instant message, text message, telefax, coded
     message, chat, website posting (including postings from social media sites, whether private or
     not private), or other document; (b) any telephone call between two or more persons, whether or
     not such call was by chance or prearranged, formal or informal, or by voice-mail; and (c) any
     conversation or meeting between two or more persons, whether or not such a contact was by
     chance or prearranged, formal, or informal. Unless otherwise agreed, all documents must be
     produced in their native form.
     B.      “Document” or “documents” has the broadest meaning permitted under the Federal
     Rules of Civil Procedure and the Federal Rules of Bankruptcy Procedure and includes without
     limitation all originals, drafts, and nonidentical copies of written, recorded, or graphic matter and
     information stored on any electronic medium that is capable of being retrieved or reproduced,
     including without limitation information maintained in computer systems, tapes, disks, or files,
     on microfilm or microfiche, or in any other information storage system, such as e-mail. Any
     comment, notation, or marking appearing on any document, and not a part of the original, is to
     be considered a separate document, and any draft, preliminary form, or superseded version of
     any document is also to be considered a separate document. Unless otherwise agreed, all
     documents must be produced in their native form.
     C.      The terms “or” and “and” shall each be construed disjunctively or conjunctively so as to
     require the broadest possible production in response to any given request.
     D.     The words “pertain” or “relate to” (or “pertaining to” or “relating to”) are used in the
     broadest sense and mean to refer to, discuss, involve, reflect, arise from, arise out of, arise under,
     deal with, consist of, represent, associate with, constitute, emanate from, direct at, support,
     evidence, describe, or mention.
     E.     The singular form of any word used herein includes the plural and vice versa.




Page 1 - Exhibit 1
                                       MILLER NASH GRAHAM & DUNN LLP
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